
49 So. 3d 871 (2010)
In re Joseph Floyd JOHNSON.
No. 2010-B-2581.
Supreme Court of Louisiana.
December 7, 2010.

ORDER
Considering the Petition for Interim Suspension filed by the Office of Disciplinary Counsel,
IT IS ORDERED that Joseph Floyd Johnson, Louisiana Bar Roll number 17645, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19.
FOR THE COURT:
/s/ John L. Weimer
Justice, Supreme Court of Louisiana
